Case 1:22-cv-04019-RPK-VMS Document 50 Filed 05/15/23 Page 1 of 3 PageID #: 299

                                     POLLOCK | COHEN LLP
                                       111 BROADWAY, SUITE 1804
                                         NEW YORK, NY 10006
 CONTACT:
 Raphael Janove
 Rafi@PollockCohen.com
 (215) 667-8607

                                            May 15, 2023
 VIA ECF
 The Honorable Rachel P. Kovner
 United States District Court
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re:     Gracie Baked LLC, et al. v. GiftRocket, Inc., No. 1:22-CV-04019 (RPK) (VMS)

 Dear Judge Kovner:

        I write on behalf of Plaintiffs in the above-captioned action, to renew Plaintiffs’ request for
 extended and consolidated motion to dismiss briefing, (ECF. No. 46), in accordance with this
 Court’s Order dated May 2, 2023.

         According to the original briefing deadlines, Plaintiffs’ opposition to GiftRocket Inc.’s
 motion to dismiss is due this week, on May 17, 2023. Last Friday, Defendants alerted the Court
 and Plaintiffs through multiple pre-motion conference requests of their intent to file multiple
 additional motions to dismiss. (ECF Nos. 47–49). Thus, under the present schedule, this week,
 Plaintiffs will be required to file both a motion to dismiss opposition and two pre-motion
 conference requests.

        For the sake of the Court’s and the Parties’ efficiency and time, Plaintiffs respectfully
 request consolidation and an extended briefing schedule in the form of: (1) filing one joint, 6-page
 response to Defendants’ pre-motion conference requests; and (2) a consolidated and extended
 motion to dismiss briefing schedule.

        Consolidated Pre-Motion Conference Response

         On May 12, 2023, Defendants filed three separate pre-motion conference letters, totaling
 eight pages.1 (ECF Nos. 47–49.) Today, this Court denied one letter requesting a conference and
 have ordered Plaintiffs to respond to the two other letters, which together total six pages. (ECF
 No. 49.)




        1
           Plaintiffs have filed one amended complaint against one company and its key officers and
 executives alleging violation of federal and state unfair competition laws based on a singular
 course of conduct. (ECF No. 45.) Defendants—who are all represented by the same counsel—
 have now filed four pre-motion conference letter requests to this Court and appear to intend to file
 a total of at least three motions to dismiss.
Case 1:22-cv-04019-RPK-VMS Document 50 Filed 05/15/23 Page 2 of 3 PageID #: 300

 Hon. Rachel P. Kovner
 May 15, 2023

         To systematize and streamline a response to these requests, which involve overlapping
 issues of law and fact, Plaintiffs respectfully ask this Court for leave to file one 6-page letter in
 opposition as opposed to two 3-page letters.

        Consolidated Briefing Schedules on Motions to Dismiss

         Plaintiffs renew their request for an extended and consolidated briefing schedule, (see ECF
 No. 46) to respond to what may be an additional two new motions to dismiss, for a total of three
 motions. Plaintiffs respectfully request to consolidate Rule 12 motion practice for the purpose of
 efficiency, so that the Court need not decide three separate motions to dismiss on three separate
 briefing tracks. In addition, Plaintiffs believe that there are substantially overlapping underlying
 facts and legal issues that will weave throughout the three separate briefs, and that it is
 economically and legally more sensible to respond to these briefs in concert.

         Defendant GiftRocket, Inc.’s initial motion to dismiss was served on April 26, 2023. (ECF
 No. 45.) This week, Plaintiffs’ opposition is due May 17, 2023, and Plaintiffs must also respond
 to Defendants’ two new letters on May 19, 2023. Plaintiffs will later have to respond in opposition
 to two additional motions to dismiss for a total of three separate motions (as only Defendants Baum
 and Kale are joining in GiftRocket Inc.’s Motion).

        In the interests of judicial efficiency and conservation of resources, Plaintiffs propose an
 updated combined briefing schedule, as follows:

             ⎯ Defendants’ combined brief in support of their motions to dismiss due two weeks
               after either (1) any denial of the new pre-motion conference requests; or (2) the
               conclusion of any pre-motion conference hearing.

             ⎯ Plaintiffs’ opposition due three weeks thereafter.

             ⎯ Defendants’ combined reply, if any, due two weeks thereafter.

         To the extent that Defendants need additional pages due to the combined nature of the
 briefing, Plaintiffs propose an additional 10 pages be allotted for main briefs, and 5 pages to any
 reply.

         This will avoid the Court having to decide at least three overlapping motions to dismiss
 filed by the same defense counsel involving allegations of wrongdoing by one company, its key
 executives, based on their singular course of alleged tortious conduct.

         If the Court instead prefers to keep Defendants’ motions to dismiss should remain on
 separate briefing tracks—and given Defendants’ new letter requests last Friday—Plaintiffs request
 in the alternative an extension from May 17, 2023, to May 26, 2023, to respond to GiftRocket’s
 motion to dismiss.

                                                ***




                                                  2
Case 1:22-cv-04019-RPK-VMS Document 50 Filed 05/15/23 Page 3 of 3 PageID #: 301

 Hon. Rachel P. Kovner
 May 15, 2023

        In summary, Plaintiffs request that (1) they be permitted to file a consolidated 6-page PMC
 response on May 19, 2023; and (2) an extended and consolidated Rule 12 briefing schedule as
 proposed above.

         Defendants oppose Plaintiffs’ request for an extended or combined motion-to-dismiss
 briefing schedule.

        Plaintiffs thank the Court for its consideration.

                                                       Sincerely,

                                                       /s/ Raphael Janove

                                                       Raphael Janove

 CC: All Counsel of record




                                                  3
